             Case 18-60630         Doc 5   Filed 10/03/18       Entered 10/04/18 00:10:03   Desc Imaged Certificate of Notice   Page 1 of
                                                                               3
Information to identify the case:
Debtor 1              Sonya A Jackson−Smith                                                    Social Security number or ITIN      xxx−xx−7297
                      First Name    Middle Name     Last Name                                  EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                       Social Security number or ITIN _ _ _ _
                      First Name    Middle Name     Last Name
(Spouse, if filing)
                                                                                               EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             Eastern District of Texas
                                                                                               Date case filed for chapter 7 9/30/18
Case number:          18−60630


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                  12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                         About Debtor 2:

1.      Debtor's full name                        Sonya A Jackson−Smith

2.      All other names used in the
        last 8 years

3.     Address                                1802 Chestnut Ln
                                              Longview, TX 75604

4.     Debtor's attorney                          Bradley S. Campbell                                     Contact phone 903−569−0000
                                                  228 West Broad                                          Email ____________________
       Name and address                           Mineola, TX 75773

5.     Bankruptcy trustee                         Jason Searcy.                                           Contact phone (903) 757−3399
                                                  P. O. Box 3929                                          Email ____________________
       Name and address                           Longview, TX 75606
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                                                                     3
Debtor Sonya A Jackson−Smith                                                                                                                       Case number 18−60630


6. Bankruptcy clerk's office                     Plaza Tower                                                                      Hours open Mon−Fri 8am−4pm
                                                 110 N. College Avenue
     Documents in this case may be filed at this Ninth Floor                                                                      Contact phone 903−590−3200
     address. You may inspect all records filed Tyler, TX 75702
     in this case at this office or online at
     www.pacer.gov.                                                                                                               Date: 10/1/18


7. Meeting of creditors                                  November 2, 2018 at 09:15 AM                                             Location:

     Debtors must attend the meeting to be               The meeting may be continued or adjourned to a                           Plaza Tower, 3rd Floor, Suite
     questioned under oath. In a joint case,             later date. If so, the date will be on the court                         301, 110 N. College Ave., Tyler,
     both spouses must attend. Creditors may
     attend, but are not required to do so.              docket.                                                                  TX 75702


8. Presumption of abuse                                  The presumption of abuse does not arise.

     If the presumption of abuse arises, you
     may have the right to file a motion to
     dismiss the case under 11 U.S.C. §
     707(b). Debtors may rebut the
     presumption by showing special
     circumstances.


9. Deadlines                                    File by the deadline to object to discharge or                                    Filing deadline: 1/2/19
                                                to challenge whether certain debts are
     The bankruptcy clerk's office must receive dischargeable:
     these documents and any required filing
     fee by the following deadlines.
                                                         You must file a complaint:
                                                         • if you assert that the debtor is not entitled to
                                                           receive a discharge of any debts under any of the
                                                           subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                           or

                                                         • if you want to have a debt excepted from discharge
                                                           under 11 U.S.C § 523(a)(2), (4), or (6).

                                                         You must file a motion:
                                                         • if you assert that the discharge should be denied
                                                           under § 727(a)(8) or (9).


                                                         Deadline to object to exemptions:                                        Filing deadline: 30 days after the
                                                         The law permits debtors to keep certain property as                      conclusion of the meeting of creditors
                                                         exempt. If you believe that the law does not authorize an
                                                         exemption claimed, you may file an objection.


10. Proof of claim                                       No property appears to be available to pay creditors. Therefore, please do not file a
                                                         proof of claim now. If it later appears that assets are available to pay creditors, the clerk
     Please do not file a proof of claim unless          will send you another notice telling you that you may file a proof of claim and stating the
     you receive a notice to do so.                      deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                      The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                         not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                         exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                         www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                         debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                         objection by the deadline to object to exemptions in line 9.

NOTICE: Pursuant to L.R.B.P. 6007 the Trustee may announce at this meeting his intention to abandon specific property of the estate having a total value of not more than $1500.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                      page 2
                Case 18-60630   Doc 5   Filed 10/03/18   Entered 10/04/18 00:10:03   Desc Imaged Certificate of Notice   Page 3 of
                                                                        3
                                               United States Bankruptcy Court
                                                 Eastern District of Texas
In re:                                                                                                        Case No. 18-60630-bp
Sonya A Jackson-Smith                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0540-6                  User: duked                         Page 1 of 1                           Date Rcvd: Oct 01, 2018
                                      Form ID: 309A                       Total Noticed: 19


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 03, 2018.
db             +Sonya A Jackson-Smith,   1802 Chestnut Ln,    Longview, TX 75604-4311
7568039        +LendingUSA,   Attn: Bankruptcy Dept,    15303 Ventura Blvd. Suite 850,
                 Sherman Oaks, CA 91403-6630
7568040        +Longview Regional Medical Center,    2801 North Fourth street,   Longview, Texas 75605-5719
7568041        +Mariner Finance,   8211 Town Center Dr,    Nottingham, MD 21236-5904
7568045        +US Deptartment of Education/Great Lakes,    Attn: Bankruptcy,   PO Box 7860,
                 Madison, WI 53707-7860
7568046        +USSA Federal Saving Bank/Nationstar,    Attn: Bankruptcy,   8950 Cypress Waters Blvd, Ste B,
                 Coppell, TX 75019-4620

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: bsc@clfpc.com Oct 02 2018 03:34:52       Bradley S. Campbell,    228 West Broad,
                 Mineola, TX 75773
tr             +EDI: QJSEARCY.COM Oct 02 2018 07:18:00      Jason Searcy.,    P. O. Box 3929,
                 Longview, TX 75606-3929
ust            +E-mail/Text: ustpregion06.ty.ecf@usdoj.gov Oct 02 2018 03:35:25        US Trustee,
                 Office of the U.S. Trustee,   110 N. College Ave.,     Suite 300,    Tyler, TX 75702-7231
7568032        +E-mail/Text: bankruptcy@500fastcash.com Oct 02 2018 03:35:25        500 Fast Cash,   515 G SE,
                 Miami, OK 74354-8224
7568033        +EDI: ACECASHXPRESS.COM Oct 02 2018 07:18:00       Ace Cash Express,
                 1231 Greenway Drive, Suite 700,    Irving,Texas 75038-2556
7568034        +EDI: GMACFS.COM Oct 02 2018 07:18:00      Ally Financial,    Attn: Bankruptcy Dept,
                 PO Box 380901,   Bloomington, MN 55438-0901
7568035        +E-mail/Text: opsqa_usbankruptcy@cashnetusa.com Oct 02 2018 03:35:00        Cashnet USA,
                 175 W Jackson Blvd, Suite 1000,    Chicago, IL 60604-2863
7568036        +EDI: DISCOVER.COM Oct 02 2018 07:18:00      Discover Financial,     PO Box 3025,
                 New Albany, OH 43054-3025
7568037        +E-mail/Text: collectionbankruptcies.bancorp@53.com Oct 02 2018 03:36:15        Fifth Third Bank,
                 Attn: Bankruptcy Department,    1830 E Paris Ave SE,    Grand Rapids, MI 49546-8803
7568038         EDI: IRS.COM Oct 02 2018 07:18:00      IRS,   Centralized Insolvency Operations,     PO Box 21126,
                 Philidelphia, PA 19114-0326
7568042         EDI: NEXTEL.COM Oct 02 2018 07:18:00      Sprint,    PO Box 79357,
                 City of Industry, CA 91716-9375
7568043        +EDI: RMSC.COM Oct 02 2018 07:18:00      Syncb/nations,    Attn: Bankruptcy,    PO Box 965060,
                 Orlando, FL 32896-5060
7568044        +EDI: RMSC.COM Oct 02 2018 07:18:00      Synchrony Bank/ JC Penneys,     Attn: Bankruptcy Dept,
                 PO Box 965060,   Orlando, FL 32896-5060
                                                                                               TOTAL: 13

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                                    TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 03, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 1, 2018 at the address(es) listed below:
              Bradley S. Campbell   on behalf of Debtor Sonya A Jackson-Smith bsc@clfpc.com
              Jason Searcy.    jrstrustee@jrsearcylaw.com, TX38@ecfcbis.com;jrsearcy@ecf.epiqsystems.com
              US Trustee   USTPRegion06.TY.ECF@USDOJ.GOV
                                                                                            TOTAL: 3
